Case 9:20-md-02924-RLR Document 661 Entered on FLSD Docket 04/30/2020 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
   PRODUCTS LIABILITY                                                                20-MD-2924
   LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO:

          20-cv-80704-RLR

           ORDER OF CONSOLIDATION AND ADMINISTRATIVE CLOSE-OUT

          THIS CAUSE is before the Court sua sponte. The above-styled cases are consolidated

   in MDL proceeding 20-MD-2924 for all pretrial purposes, and the parties are directed to submit

   all filings in the MDL action. It light of the consolidation of all cases in the MDL action, it is

   ORDERED AND ADJUDGED that the Clerk of the Court shall mark the following cases as

   CLOSED for administrative purposes only:

          20-cv-80704-RLR

          DONE and ORDERED in Chambers at West Palm Beach, Florida, this 30th day of

   April, 2020.



                                                       _______________________________
                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE
   Copies furnished to Counsel of Record
